447 F.2d 502
    Rowan R. BAILEY, Plaintiff-Appellant,v.ROWAN DRILLING COMPANY, Inc., et al., Defendants-Appellees.
    No. 71-2052 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    September 13, 1971.
    
      Appeal from the United States District Court for the Eastern District of Louisiana; Lansing L. Mitchell, Judge.
      Donald V. Organ, New Orleans, La., for plaintiff-appellant.
      William K. Christovich, New Orleans, La., for defendants-appellees.
      Before GEWIN, GOLDBERG, and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, 5 Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    